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FOX ROTHSCHILD LLP
Yann Geron
Kathleen Aiello
100 Park Avenue, 15th Floor
New York, New York 10017
(212) 878-7900

Attorneys for Yann Geron, Interim Chapter 7 Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re                                                          :
                                                               :   Chapter 7
DB 85 GYM CORP.,                                               :
d/b/a DAVID BARTON GYM,                                        :   Case No. 16-13580 (SHL)
                                                               :
                                    Debtor.                    :
---------------------------------------------------------------x
In re                                                          :
                                                               :   Chapter 7
CLUB VENTURES III, L.L.C.,                                     :
d/b/a DAVID BARTON GYM,                                        :   Case No. 16-13581 (SHL)
                                                               :
                                    Debtor.                    :
---------------------------------------------------------------x
In re                                                          :
                                                               :   Chapter 7
CLUB VENTURES X, LLC,                                          :
d/b/a DAVID BARTON GYM,                                        :   Case No. 16-13582 (SHL)
                                                               :
                                    Debtor.                    :
---------------------------------------------------------------x
In re                                                          :   Chapter 7
                                                               :
CLUB VENTURES ARCHIVE LLC,                                     :   Case No. 16-13616 (SHL)
d/b/a DAVID BARTON GYM,                                        :
                                                               :
                                    Debtor.                    :
---------------------------------------------------------------x
In re                                                          :   Chapter 7
                                                               :
CLUB VENTURES LIMELIGHT LLC,                                   :   Case No. 16-13617 (SHL)
d/b/a DAVID BARTON GYM,                                        :
                                                               :
                                    Debtor.                    :
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  In re                                                        :
                                                               :
  CLUB VENTURES MIAMI LLC,                                     :   Chapter 7
  d/b/a DAVID BARTON GYM,                                      :
                                                               :   Case No. 16-13618 (SHL)
                                    Debtor.                    :
---------------------------------------------------------------x
  In re                                                        :
                                                               :   Chapter 7
  CLUB VENTURES INVESTMENTS LLC,                               :
  d/b/a DAVID BARTON GYM,                                      :   Case No. 17-10060 (SHL)
                                                               :
                                     Debtor.                   :
---------------------------------------------------------------x

        ORDER (I) DIRECTING JOINT ADMINISTRATION OF THE DEBTORS’
           CHAPTER 7 CASES AND (II) GRANTING RELATED RELIEF

                 Upon the motion (the “Motion”) of Yann Geron (the “Trustee”), the chapter 7

trustee of the of the estates of DB 85 Gym Corp., Club Ventures III, L.L.C., Club Ventures X,

LLC, Club Ventures Archive LLC, Club Ventures Limelight LLC, Club Ventures Miami LLC and

Club Ventures Investments LLC, all of which did business as DavidBartonGyms (each a “Debtor”,

and collectively, the “Debtors”), the above-captioned debtors, as and for his motion (the

“Motion”), for an order (the “Order”), substantially in the form annexed hereto as Exhibit A,

directing procedural consolidation and joint administration of the Debtors’ chapter 7 cases and

granting related relief, as more fully set forth in the Motion; and it appearing to this Court that

good and sufficient notice of the Motion has been given; and this Court having jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent

with Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the Debtors’


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estates, their creditors, and other parties-in-interest; and this court having found that the Trustee

provided appropriate notice of the Motion and the opportunity for hearing under the circumstances;

and this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor; it is

HEREBY ORDERED THAT

        1.      The Motion is granted as set forth herein.

        2.      The above-captioned chapter 7 cases are consolidated for procedural purposes only

and shall be jointly administered by this Court under Case No. 17-10060 (SHL).

        3.      The caption of the jointly administered cases should be read as follows:

---------------------------------------------------------------x
  In re                                                        :
                                                               : Chapter 7
  CLUB VENTURES INVESTMENTS LLC,                               :
  d/b/a DAVID BARTON GYM, et al.,                              : Case No. 17-10060 (SHL)
                                                               :
                                               1
                                     Debtors .                 : Jointly Administered
---------------------------------------------------------------x

        4.      The foregoing caption satisfies the requirements set forth in Section 342(c)(1) of

the Bankruptcy Code.




1
 The Debtors refer to DB 85 Gym Corp. (Case No. 16-13580), Club Ventures III, L.L.C. (Case No. 16-13581), Club
Ventures X, LLC (Case No. 16-13582), Club Ventures Archive LLC (Case No. 16-13616), Club Ventures Limelight
LLC (Case No. 16-13617), Club Ventures Miami LLC (Case No. 16-13618), and Club Ventures Investments LLC
(Case No. 17-10060), all of which did business as DavidBartonGyms prior to their respective filings.


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          5.    A docket entry, substantially similar to the following, shall be entered on the docket

of each of the Debtors other than Club Ventures Investments, LLC d/b/a DavidBartonGyms to

reflect the joint administration of these chapter 7 cases:

                An order has been entered in accordance with Rule 1015(b) of the
                Federal Rules of Bankruptcy Procedure directing the joint administration
                of the chapter 7 cases of DB 85 Gym Corp., Club Ventures III, LLC,
                Club Ventures X, LLC, Club Ventures Limelight LLC, Club Ventures
                Archive LLC, Club Ventures Miami, LLC and Club Ventures
                Investments, LLC, all of which did business as David Barton Gym. All
                pleadings and other papers shall be filed in and all further docket entries
                shall be made in Case No. 17-10060 (SHL).

          6.    One consolidated docket, one file, and one consolidated service list shall be

maintained by the Trustee and kept by the Clerk of the Court.

          7.    Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 7 cases and this Order

shall be without prejudice to the rights of the Trustee to seek entry of an order substantively

consolidating their respective cases.

          8.    The Trustee is authorized to take all actions necessary to effectuate the relief

granted in this order in accordance with the Motion.

          9.    Notice of the Motion as provided therein is hereby deemed good and sufficient

notice of such motion and the requirements of the local rules of this Court are satisfied by such

notice.

          10.   This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Dated: New York, New York
        February 7, 2017                              /s/ Sean H. Lane
                                                         Honorable Sean H. Lane
                                                         United States Bankruptcy Judge



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